                           Case 2:22-cv-04355-JFW-JEM Document 320 Filed 06/23/23 Page 1 of 3 Page ID #:21661




                                           1 ERIC BALL (CSB No. 241327)
                                             eball@fenwick.com
                                           2 KIMBERLY CULP (CSB No. 238839)
                                             kculp@fenwick.com
                                           3 FENWICK & WEST LLP
                                             801 California Street
                                           4 Mountain View, CA 94041
                                           5 Telephone:  650.988.8500
                                             Facsimile: 650.938.5200
                                           6
                                               MOLLY R. MELCHER (CSB No. 272950)
                                           7   mmelcher@fenwick.com
                                               ANTHONY M. FARES (CSB No. 318065)
                                           8   afares@fenwick.com
                                               ETHAN M. THOMAS (CSB No. 338062)
                                           9   ethomas@fenwick.com
                                               FENWICK & WEST LLP
                                          10   555 California Street, 12th Floor
                                               San Francisco, CA 94104
                                          11   Telephone: 415.875.2300
                                          12
                                               Additional Counsel listed on next page
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                          13
                                             Attorneys for Plaintiff
                                          14 YUGA LABS, INC.
                                          15
                                          16                            UNITED STATES DISTRICT COURT
                                          17                           CENTRAL DISTRICT OF CALIFORNIA
                                          18                             WESTERN DIVISION – Los Angeles
                                          19
                                          20 YUGA LABS, INC.,                           Case No.: 2:22-cv-04355-JFW-JEM
                                          21                     Plaintiff,             NOTICE OF LODGING [PROPOSED]
                                                                                        REVISED PRETRIAL CONFERENCE
                                          22          v.                                ORDER
                                          23 RYDER RIPPS, JEREMY CAHEN,                 Judge: Hon. John F. Walter
                                          24
                                                         Defendants.                    Trial Date: July 31, 2023
                                          25
                                          26
                                          27
                                          28

                                               NOTICE OF LODGING [PROPOSED]                              Case No. 2:22-cv-04355-JFW-JEM
                                               REVISED PRETRIAL CONFERENCE ORDER
                           Case 2:22-cv-04355-JFW-JEM Document 320 Filed 06/23/23 Page 2 of 3 Page ID #:21662




                                           1 MELISSA L. LAWTON (CSB No. 225452)
                                             mlawton@fenwick.com
                                           2 FENWICK & WEST LLP
                                             228 Santa Monica Boulevard
                                           3 Santa Monica, CA 90401
                                             Telephone: 310.434.4300
                                           4
                                             DAVID Y. SILLERS (admitted pro hac vice)
                                           5 david@clarelocke.com
                                           6 KATHRYN HUMPHREY (admitted pro hac vice)
                                             kathryn@clarelocke.com
                                           7 MEGAN L. MEIER (admitted pro hac vice)
                                             megan@clarelocke.com
                                           8 CLARE LOCKE LLP
                                             10 Prince Street
                                           9 Alexandria, VA 22314
                                             Telephone: 202.628.7400
                                          10
                                             Attorneys for Plaintiff
                                          11 YUGA LABS, INC.
                                          12
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                          13
                                          14
                                          15
                                          16
                                          17
                                          18
                                          19
                                          20
                                          21
                                          22
                                          23
                                          24
                                          25
                                          26
                                          27
                                          28

                                               NOTICE OF LODGING [PROPOSED]               Case No. 2:22-cv-04355-JFW-JEM
                                               REVISED PRETRIAL CONFERENCE ORDER
                           Case 2:22-cv-04355-JFW-JEM Document 320 Filed 06/23/23 Page 3 of 3 Page ID #:21663




                                          1 TO THE HONORABLE COURT, ALL PARTIES AND THEIR
                                          2 ATTORNEYS OF RECORD:
                                          3            PLEASE TAKE NOTICE that pursuant to the Court’s Order at Docket
                                          4 No. 313, the hearing on June 16, 2023, and Local Rule 5-4.4.1, Plaintiff Yuga
                                          5 Labs, Inc., hereby lodges with the Court:
                                          6            [Proposed] Revised Pretrial Conference Order.
                                          7
                                          8 Dated: June 23, 2023                     FENWICK & WEST LLP
                                          9
                                          10                                         By: /s/ Eric Ball
                                                                                         Eric Ball
                                          11                                         Attorneys for Plaintiff
                                                                                     YUGA LABS, INC.
                                          12
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                          13
                                          14
                                          15
                                          16
                                          17
                                          18
                                          19
                                          20
                                          21
                                          22
                                          23
                                          24
                                          25
                                          26
                                          27
                                          28

                                               NOTICE OF LODGING [PROPOSED]
                                               REVISED PRETRIAL CONFERENCE ORDER        1                 Case No. 2:22-cv-04355-JFW-JEM
